The court incorporates by reference in this paragraph and adopts as the findings and orders
of this court the document set forth below. This document was signed electronically at the time
and date indicated, which may be materially different from its entry on the record.


                                    Entered pursuant to Administrative Order No. 16-02,
                                    Josiah C. Sell, Clerk of Court

                                    By: __________________________
                                        /s/ Diane Haidet
                                        Deputy Clerk



   Dated: 10:30 AM November 16, 2021




                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF OHIO

IN RE:                                                        :     Chapter 13 Proceedings

Charles Clifton Craig While                                   :     Case No.: 19-62346

Debbie Lou While                                              :      Judge Russ Kendig
Debtors

                 ORDER FOR PAYMENT FROM DEBTORS TO TRUSTEE
                            (Amended per Agreed Order)

   It appearing to the Court that the Debtor(s) filed a plan under Chapter 13 of the Bankruptcy Code
and that Dynele L. Schinker-Kuharich was appointed Chapter 13 Trustee to administer the case.

   It further appearing to the Court that the Debtor(s) is/are to make payments directly to the
Trustee BY MONEY ORDER OR CERTIFIED CHECK WITH DEBTOR(S) NAME AND
CHAPTER 13 CASE NUMBER LEGIBLY APPEARING ON ALL PAYMENTS.

  THEREFORE, IT IS ORDERED THAT said debtor(s) is/are to pay the sum of $1,958.00
MONTHLY and remit the same to:

                                         Dynele L. Schinker-Kuharich, Chapter 13 Trustee
                                         P O Box 616
                                         Memphis, TN 38101-0616

    A full monthly payment of $1,958.00 must be received by the 20th of each month.




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   IT IS FURTHER ORDERED that if the debtor(s) should fail to make said payments in
accordance with this order, the Trustee may submit an order to this Court for employer deductions.

   I hereby certify that this Order complies with Administrative Order No. 16-02.
   Signed under the pains and penalty of perjury.

                                               ###

/s/ Dynele L. Schinker-Kuharich
Dynele L. Schinker-Kuharich (0069389)
Chapter 13 Trustee
A. Michelle Jackson Limas (0074750)
Staff Counsel to the Chapter 13 Trustee
200 Market Avenue North, Ste. 30
Canton, OH 44702
Telephone: 330.455.2222
Facsimile: 330.754.6133
Email: DLSK@Chapter13Canton.com



                                          Service List

Charles Clifton Craig While and
Debbie Lou While, Debtors, via regular mail at:
1672 Amoy West Road
Mansfield, OH 44903

Office of the United States Trustee, via the Court’s Electronic Case Filing System at
[RegisteredEmailAddress]@usdoj.gov

Office of the Chapter 13 Trustee, via the Court’s Electronic Case Filing System at
dlsk@Chapter13Canton.com

Deborah L. Mack, Counsel for Charles Clifton Craig and Debbie Lou While, via the Court’s
Electronic Case Filing System at Debbie@ohiofinancial.lawyer




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